

People v Ramirez (2024 NY Slip Op 06668)





People v Ramirez


2024 NY Slip Op 06668


Decided on December 31, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 31, 2024

Before: Webber, J.P., Moulton, Friedman, Mendez, Shulman, JJ. 


Ind. No. 4758/15 Appeal No. 3342 Case No. 2020-01847 

[*1]The People of the State of New York, Respondent,
vRobinson Ramirez, Appellant.


Jenay Nurse Guilford, Center for Appellate Litigation, New York (Jan Hoth of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Jacob C. Marcus of counsel), for respondent.



Order, Supreme Court, New York County (Gregory Carro, J.), entered on or about February 13, 2020, which adjudicated defendant a level two sexual offender pursuant to the Sex Offender Registration Act (Correction Law art 6-C), unanimously affirmed, without costs.
The court providently denied defendant's request for a downward departure to a level one designation where clear and convincing evidence supported the assessment of points under factors 3, 5 and 7 against defendant on the Risk Assessment Instrument (RAI). The 80 points assessed in the RAI rendered defendant a presumptive level two risk, and defendant failed to offer evidence in mitigation that was not already taken into account by the RAI (see People v Gillotti, 23 NY3d 841, 861 [2014]). Even assuming the existence of such evidence in mitigation, it was far outweighed by aggravating factors that were not taken into account by the RAI, the number of very young children depicted in at least 25 videos who were subject to abhorrent sexual abuse, the damage caused by defendant in disseminating such material on the internet, and sworn allegations of sexual assault by defendant from two children in Florida (see e.g. People v Field, 214 AD3d 418, 419 [1st Dept 2023], lv denied 40 NY3d 902 [2023]; People v Bell, 149 AD3d 666 [1st Dept 2017], lv denied 29 NY3d 916 [2017]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: December 31, 2024








